        Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


BATTLE BORN INVESTMENTS
COMPANY, LLC,

               Plaintiff,

       v.                                                Civil Action No. 24-0067 (BAH)

UNITED STATES DEPARTMENT OF
JUSTICE,

               Defendant.


                            DECLARATION OF NATASHA HUDGINS

       I, Natasha Hudgins, declare the following to be a true and correct statement of facts:

       1)      I am an Attorney-Advisor with the Executive Office for United States Attorneys

(“EOUSA”), United States Department of Justice (“DOJ”). I am assigned to EOUSA’s Freedom

of Information Act/Privacy Act (“FOIA/PA”) Staff (the “Staff”), which is the component within

EOUSA designated to administer both the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

amended by the OPEN Government Act of 2007, Pub. L. No. 110-175, 121 Stat. 2524, and the

Privacy Act of 1974 (“PA”), 5 U.S.C. § 552a. In that position, I have several responsibilities

including acting as a liaison with other divisions and offices of the Department of Justice (“DOJ”)

in responding to access requests as well as FOIA and PA litigation; reviewing FOIA and PA

requests for access to records and case files located in this office and 94 United States Attorney’s

offices (“USAOs”) throughout the nation; reviewing correspondence related to FOIA and PA

requests; reviewing searches conducted in response to FOIA and PA access requests; identifying

the location of records responsive to FOIA and PA requests; and preparing EOUSA’s responses

to FOIA and PA requests to ensure that determinations to withhold or release responsive records
        Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 2 of 7




are in accordance both the FOIA and the PA, as well as with DOJ regulations, see 28 C.F.R.

§§ 16.3 et seq. and §§ 16.40 et seq.

       2)      The Staff processes and reviews both FOIA and PA requests, responds to

administrative appeals, and acts as agency counsel in lawsuits challenging its determinations. As

an Attorney-Advisor on the Staff, I have access to EOUSA’s files, and I have authority to release

and/or withhold records requested under the FOIA and PA. I also have authority to explain the

rationale for EOUSA’s disclosure determinations.

       3)      Due to the nature of my official duties, I am familiar with the procedures followed

by EOUSA in responding to FOIA requests generally as well as the actions that EOUSA has taken

in response to the FOIA request submitted by the plaintiff in this case, Battle Born Investments

Company, LLC (hereafter “Plaintiff”). The statements I make hereinafter are based on my review

of the official files and records of EOUSA, my own personal knowledge, and information I

acquired through the performance of my official duties.

       4)      The purpose of this declaration is to provide the Court with information regarding

Plaintiff’s FOIA requests to EOUSA and the rationale behind EOUSA’s responses.               This

declaration consists of (1) a chronology of the FOIA request submitted by Plaintiff and EOUSA’s

responses and (2) information supporting EOUSA’s withholdings pursuant to Exemptions (b)(6),

(b)(7)(C), and (b)(7)(F) in accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), cert

denied, 415 U.S. 977 (1974).

                         FOIA REQUEST AND EOUSA RESPONSE

       5)      Plaintiff submitted a FOIA request to EOUSA on October 20, 2023 via EOUSA’s

electronic FOIAXpress Public Access Link system. The request sought all records and documents

showing (1) the name of the person who signed a Consent and Agreement to Forfeiture with the

U.S. Attorney’s Office, Northern District of California, on or about November 3, 2020, concerning


                                                2
        Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 3 of 7




a cryptocurrency wallet referred to as 1HQ3 in United States v. Approximately 69,370 Bitcoin, et

al., Case No. 3:20-cv-7811-RS (N.D. Cal.); (2) the name of any person believed to have owned,

possessed, or controlled that wallet; and (3) the name of the person referred to as “Individual X”

in that case. I respectfully refer the Court to the documents for a true and accurate statement of

the contents of the FOIA request, attached hereto as Exhibit A.

       6)       EOUSA assigned request tracking number EOUSA-2024-000128 to the request.

       7)       On October 24, 2023, EOUSA sent the request for a search in the United States

Attorney’s Office for the Northern District of California (“USAO-CAN”). On December 4, 2023,

USAO-CAN provided a records response to EOUSA.

       8)       On March 20, 2024, EOUSA issued its final response denying the request in full,

citing Exemptions (b)(3), (b)(6), (b)(7)(A), and (b)(7)(C). I respectfully refer the Court to the

documents for a true and accurate statement of the contents of the FOIA request, attached hereto

as Exhibit B.

       9)       After further research and consultation with the USAO-CAN, it was brought to

EOUSA’s attention that a copy of the Consent and Agreement to Forfeiture document was

requested and partially released to another requester in the past. Therefore, EOUSA provided

Plaintiff with a supplemental release on June 6, 2024. I respectfully refer the Court to the

documents for a true and accurate statement of the contents of the FOIA request, attached hereto

as Exhibit C.

                                        EXEMPTIONS

       Exemptions (b)(6) and (b)(7)(C): Privacy

       10)      Exemption (b)(6) of the FOIA permits the withholding of personnel and medical

files and similar files, which if disclosed, would constitute a clearly unwarranted invasion of




                                                3
            Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 4 of 7




personal privacy. 5 U.S.C. § 552(b)(6). This exemption has been interpreted by the United States

Supreme Court broadly to apply to all information pertaining to a particular individual.

        11)      To protect information under Exemption (b)(7), an agency must ensure that the

information was compiled for law enforcement purposes. In this instance, information requested

was created as part of a civil forfeiture action by the USAO-CAN because of some criminal

activity.

        12)      Similarly, Exemption (b)(7)(C) protects from disclosure “records or information

that was compiled for law enforcement purposes, but only to the extent that the production of such

law enforcement records or information…could reasonably be expected to constitute an

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C).

        13)      EOUSA determined that, as an initial matter, the threshold for Exemption (b)(6)

was satisfied because the information withheld applies to a particular person. EOUSA also

determined that the threshold for Exemption (b)(7)(C) was satisfied because the records in question

were created for the purpose of handling a civil law enforcement action.

        14)      EOUSA asserted Exemptions (b)(6) and (b)(7)(C) to protect the non-public

information concerning the “Individual X” that was requested by Plaintiff. The disclosure of

Individual X’s name contained in the records would subject the third party to an unwarranted

invasion of their personal privacy by leading to efforts of individuals to contact them directly, gain

access to their personal information, or subject them to harassment or harm.

        15)      Plaintiff failed to provide a public interest justification that would outweigh the

personal privacy of the individual at issue. Plaintiff simply asserted that “[n]o FOIA exemption

authorizes the Government to conceal the identity of a person who forfeited, owned, possessed, or

controlled the wallet worth approximately $2 billion.” See Exhibit A.




                                                  4
         Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 5 of 7




        16)     Simply stating the belief that there is a lack of privacy interest does not diminish

the privacy interest to the individual. Plaintiff referenced a press release that uses “Individual X”

as an identifier in their FOIA request. The Department never released the name of the person

identified as Individual X in the press release or otherwise in court proceedings. Plaintiff has not

provided a public interest justification beyond their individual interest in the requested document.

        17)     Further, the release of Individual X’s name would not shed further light on the

activities of the federal government, nor would it assist Plaintiff or other individuals to understand

and obtain information about the workings of their government.

        18)     EOUSA is of the belief that a search was not required, as Plaintiff did not provide

consent, a proof of death or overriding public interest justification to override the personal privacy

of an individual whose identity was not made public in any way. However, EOUSA conducted a

search to ensure that the USAO-CAN had not publicly acknowledged the identity of Individual X

in a court filing or other publication after the press release.

        19)     Prior to the filing of this declaration, I confirmed with the USAO-CAN that the

name of Individual X has not been made public. In fact, only designated USAO-CAN personnel

knows the identity of individual X.

        20)     As mentioned above, there is foreseeable harm in releasing the identity of

Individual X because release would subject them to harassment and physical harm. The District

Court for the Northern District of California and Ninth Circuit have already denied Plaintiff’s

requests to reveal the identity of Individual X in the underlying proceedings where Plaintiff

believes the Individual X was affiliated with Battle Born and/or its bankruptcy proceedings.

Plaintiff’s continued pursuit of Individual X’s identity is supplemental evidence that revealing

their identity would likely subject them to harm and harassment.




                                                   5
            Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 6 of 7




            21)    Therefore, the privacy interest outweighs the public interest for the third-party.

            22)    EOUSA segregated the document Consent and Agreement to Forfeiture Agreement

requested by Plaintiff by releasing in part two pages. EOUSA redacted the names all individuals

listed in the document.

            23)    The EOUSA properly asserted Exemptions (b)(6) and (b)(7)(C) to protect the third-

party individuals and those privacy interests in the document.

            Exemption (b)(7)(F): Protection of Physical Safety

            24)    Exemption (b)(7)(F) protects from disclosure law enforcement information that

“could reasonably be expected to endanger the physical safety of any individual.”

            25)    In this instance, the document requested by Plaintiff would identify an individual

who is accused of theft of several thousand Bitcoins that had a value of over $1 billion when

seized. i

            26)    In this case, the Bitcoin was stolen by “Individual X” from addresses at Silk Road,

the most sophisticated and extensive criminal marketplace on the Internet, serving as a sprawling

black-market bazaar where unlawful goods and services, including illegal drugs of virtually all

varieties, were bought and sold regularly by the site’s users.

            27)    The physical safety of an individual who is accused of stealing over $1 billion worth

of assets can be reasonably expected from several people, especially those who believe they’ve

been harmed by the theft. This threat of harm is heightened when the goods are believed to be

stolen proceeds from criminal activity.




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       https://www.justice.gov/usao-ndca/pr/united-states-files-civil-action-forfeit-
cryptocurrency-valued-over-one-billion-us



                                                     6
        Case 1:24-cv-00067-BAH Document 15-2 Filed 06/18/24 Page 7 of 7




       28)     Further, Individual X has already received threats from an individual connected to

Silk Road. Releasing Individual X’s identity to the public would put their life at grave risk by

confirming their involvement in this federal case.



       I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge and belief.



       Executed this 18th day of June 2024.



                                                 ________________________________
                                                 Natasha Hudgins
                                                 Attorney-Advisor,
                                                 Freedom of Information/Privacy Act Staff
                                                 Executive Office for United States Attorneys




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